                                                                                                            ...rM.f51'k~!?!!.~...
                       Case 4:04-cr-00291-BSM Document 1024 Filed 11/05/13 Page 1 of 3

PROBI:IB
IIIWAR (1212012:)

                                             United States District Court                                      NOV 05"2013
                                                              for the                                 JAMES~a.:~
                                                                                                      By:~
                                               Eastern District of Arkansas

                             Request for Modifying the Conditions or Term of Supervision
                                            with Consent of the Offender
                                            (l'rfiiMtllllt FOI'Ifl4f, Wlllw!r efHMIIrrg Is~




  Name of Offender: Donald Lee Bone                                                      Case Number: 4:04CR00291-03 JLH
  Name of Sentencing Judicial Officer:          Honorable George Howard, Jr.
                                                United States District Judge

                                                Reassigned to Honorable J. Leon Holmes
                                                United States District Judge, on December 13, 2007
   Original Offense:
  n.ttllutsn•:
   Original Sentence:
                                 . ....
                                Conspiracy to Distribute More Than S Grams of Cocaine Base
                                , ..,
                                94 months Bureau of Prisons to run consecutive to the undischarged term of
                                imprisonment the defendant is currently serving in the Arkansas Department of
                                Correction, 4 years supervised release, mandatory drug screening, substance abuse
                                treatment, DNA collection and $100 special penalty assessment
   Typeo{               Supervised         Date Supervision Commenced: January 24,2013
   Supervision:         release            Date Supervision Expires: January 23, 2017
   U.S. Probation                          Asst. u.s.                                         Defense
   Officer: Tiffani D. Dabney              Attorney: Pat Hanis                                Attorney: Chris Tarver

                                               PETmONING THE COURT

IJ            To extend the term of supervision for _ _ year(s), for a total tenn of _ _ years.
1111          To modify the conditions of supervision as follows:

              Mr. Bone's conditions of supervised release will be modified to include a special condition of total
              alcohol abstinence throughout the course of supervision.

                                                              CAUSE

On September 5, 2013, Mr. Bone violated this condition of supervision as evidenced by his citation for drinking
in public or drinking on highway that was issued by the Arkansas State Police. In addition, on September 10,
2013, Mr. Bone reported to the probation office after excessively consuming alcohol as evidenced by the results
of the breath alcohol test, which was .073.

On October 15, 2013, Assistant Federal Public Defender Chris Tarver was contacted telephonically to review
the waiver of hearing to modify conditions of supervised release with Mr. Bone. On the same date, Mr. Bone
signed a Prob 49, waiver of hearing to modify conditions of supervised release fonn, agreeing to the
modification.
                 Case 4:04-cr-00291-BSM Document 1024 Filed 11/05/13 Page 2 of 3

Prob 128                                               -2-                               Request for Modifying the
                                                                                Conditions or Terms of Supervision
                                                                                      with Consent of the Offender

Name of Offender: Donald Lee Bone                                          Case Number: 4:04CR00291-03 JLH




          . Dabney                                           ~Pat Harris
 U.S. Probation Officer                                      U Assistant U.S. Attorney
 Date: October 29,2013                                           Date:     /1 - J "' / 3

Approved:




This form is to be filed with Criminal Docketing as a motion.


THE COURT ORDERS:
o No Action
o The Extension of Supervision as Noted Above
ifThe Modification of Conditions as Noted Above
o Other




                                                                                           7
                                                                 Date

This form is to be filed with Criminal Docketing as an order and/or petition.

c: Assistant Federal Public Defender Chris Tarver, 1401 West Capitol Avenue, Suite 490, Little Rock, AR
   72201
   Assistant U.S. Attorney Pat Harris, P.O. Box 1229, Little Rock, AR 72203
   Donald Bone, 2117 W. Charles Bussey, Little Rock, AR 72202
           Case 4:04-cr-00291-BSM Document 1024 Filed 11/05/13 Page 3 of 3




I'ROI149
                                 Waiver ofl-lcaring to Modify Conditions
                      of Probation/Supervised Release or Extend Term of Supervision

                        UNITED STATES DISTRICT COURT
                                    for the
                        EASTERN DISTRICT OF ARKANSAS

       l have been advised and understand that 1 am entitled by law to a hearing and assistance
of counsel bctore any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing.

                'VOiunta'ily waive., lta&tllory ri&}lt to a Mlrilrc M8 w ~nee Qf CMO-' l
.-.......
    l hereby
                 .....,.._~or., ea.~itioaa .rProWioa _. supe.viled ... _
or to the proposed extension of my term of supervision:

Mr. Bone's conditions of supervised release will be modified to include a special condition of
                                                  or
total alcohol abstinence throughout the course supervision.




                                                                 &uek
                                                                  Chris Tarver
